         Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )      Crim. No. 1:19-cr-148
                                                     )
PRAKAZREL MICHEL,                                    )
LOW TAEK JHO                                         )


                   GOVERNMENT’S NOTICE OF EXPERT REPORTS

       The government, through its undersigned attorneys, hereby provides the defendant with a

written summary of the testimony to be provided by expert witnesses, FBI Forensic Accountant

Eric Van Dorn and FBI Special Agent Justin Gray, previously noticed by the government (ECF

No. 112) that the government may call in its case-in-chief. This notice is provided pursuant to

Federal Rule of Criminal Procedure 16(a)(1)(G) and Federal Rules of Evidence 702, 703, and 705.1

Having provided this notice, the government requests reciprocal disclosure under Federal Rule of

Criminal Procedure 16(b)(1)(C).

Eric Van Dorn

       FBI Forensic Accountant Van Dorn is assigned to the International Corruption Squad in

FBI’s New York Division. As a forensic accountant, Mr. Van Dorn is trained and specializes in

tracing and analyzing complex financial transactions conducted by individuals and



1
  By providing the nature of the testimony of these witnesses, the government does not suggest or
concede that these witnesses must be designated or recognized as expert witnesses in order to
testify at trial about the subject matter referenced above. While these witnesses also may testify
as fact witnesses, in whole or in part, the government is hereby noticing them as potential expert
witnesses, especially in case the government seeks to elicit expert opinion testimony under Federal
Rule of Evidence 702.

                                                1
          Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 2 of 8




business/corporate entities, domestically and abroad, and through myriad financial institutions and

means.

         Mr. Van Dorn has reviewed the allegations in this case, documents and exhibits that have

been produced in this case, and conferred with the agents who investigated this matter and

prosecution team. Mr. Van Dorn will offer the following opinions based on his review and

understanding of the relevant facts:2

         1.     Beginning in June 2012 through November 2012, Low Taek Jho caused millions

of dollars to be transferred from accounts controlled by Low or Low’s associates to accounts

owned or controlled by Michel. These funds were dispersed from accounts associated with

Companies A and B, which listed Foreign National A as the signatory. Low was the beneficial

owner of the Company A and B accounts.

         2.     Prior to June 2012, hundreds of millions of dollars from a 1MDB-related account

were deposited into a Company H account. Low was the beneficial owner of the Company H

account. Funds from Company H were then transferred to Company A and then to Company B

before some of these funds were ultimately transferred to accounts owned or controlled by Michel.

         3.     In June 2012, Low caused funds to be transferred from Company A to Company C,

an account owned by Michel’s financial adviser. After the funds were deposited into Company

C’s account, Michel caused the funds to be transferred to Michel’s personal accounts in several

transactions.




2
 The Government is issuing a trial subpoena to obtain information about foreign bank accounts
associated with Companies I and J and reserves the right to supplement this expert notice based on
additional records received from those accounts.

                                                2
         Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 3 of 8




       4.     Michel used the money received from Low to make a political contribution to

Political Committee A himself, but also began paying straw donors and directing them to make

illegal conduit contributions to Political Committee A. Between on or about June 21, 2012, and

on or about August 31, 2012, Michel made the following payments to straw donors and caused the

following illegal foreign and conduit contributions, among others:

   Straw Donor       Date MICHEL           Amount of         Date of Straw         Donation
                    Provided Money           Money            Donation             Amount
                    for Contribution       MICHEL
                                            Provided
 Donor F            June 21, 2012       $30,000            June 28, 2012    $30,000
 Donors G &         June 25, 2012 &     $80,000            June 28, 2012    $40,000 &
 H                  June 26, 2012                                           $40,000
 Donors I &         August 3, 2012      $80,000            August 7, 2012 & $40,000 &
 J                                                         August 31, 2012 $40,000
 Donor K            August 3, 2012      $40,000            August 13, 2012 $40,000
 Donor L            August 7, 2012      $40,000            August 13, 2012 $40,000
 Donor M            August 14, 2012     $40,000            August 23, 2012 $40,000
 Donor N            August 14, 2012     $40,000            August 31, 2012 $35,000
 Donor O            August 13, 2012     $40,000            August 27, 2012 $40,000
 Donor P            August 17, 2012     $75,000            August 23, 2012 $75,000
 Donor Q            August 22, 2012     $40,000            August 28, 2012 $40,000


       5.     In August 2012, Low caused millions of dollars to be transferred from Company B

to Michel’s personal account, and to Company D, one of Michel’s companies. Using the money

he received from Low, Michel paid more than approximately $800,000 to multiple straw donors,

including, but not limited to, those set forth above, who in turn made contributions to Political

Committee A totaling more than approximately $755,000.

       6.     Between September and October 2012, using the money he received from Low,

Michel made three contributions totaling $1.125 million to Political Committee B from the account

of Company D and Company E, entities both owned and controlled by Michel.

                                                3
         Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 4 of 8




       7.      In November 2012, Low caused an additional $11,000,000 to be transferred from

Company A to Company D for Michel’s benefit.

       8.      In 2017, Michel began receiving additional funds from accounts controlled by

Low. Between May 2017 and September 2017, Low caused millions of dollars to be transferred

to Companies F and G, entities owned and controlled by Michel. Michel in turn caused some of

these funds to be transferred to his co-conspirators, Elliott Broidy and Nickie Lum Davis, often

through Law Firm A, to conceal the nature of the transactions. Specifically:

               a. On or about May 8, 2017, Michel’s company, Company F, received a wire

                  transfer directed by Low for approximately $2.8 million from Company I, an

                  entity in Hong Kong controlled by a Low associate. That same day, Michel

                  caused $1 million to be transferred to Law Firm A. Within several days,

                  approximately $900,000 of the $1 million was transferred from the Law Firm

                  A account to one of Broidy’s business accounts.

               b. On or about May 17, 2017, Low caused an international wire in the approximate

                  amount of $3 million to be sent to from Company I to Company F. That same

                  day, Michel transferred $3 million from Company F to Law Firm A. The next

                  day, Law Firm A transferred $600,000 to one of Broidy’s business accounts

                  and $900,000 to one of Lum Davis’s business accounts. Within approximately

                  one week, Law Firm A transferred an additional $950,000 in two separate

                  transfers to one of Broidy’s business accounts.

               c. On or about May 25, 2017, Low caused a third transfer to be made from

                  Company I to Company F, this time in the amount of approximately $2.7


                                                4
        Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 5 of 8




                 million. On or about May 26, 2017, Michel transferred $2 million from

                 Company F to Law Firm A. That same day, Law Firm A transferred $600,000

                 to one of Lum Davis’s business accounts. In or about early June 2017, Law

                 Firm A transferred $650,000 to one of Broidy’s business accounts.

              d. On or about August 9, 2017, Low caused Company I to transfer approximately

                 $12.8 million to Company F.       Michel then transferred $3 million from

                 Company F to Law Firm A. On or about the next day, Law Firm A transferred

                 $900,000 to one of Lum Davis’s business accounts. In the ensuing days, Law

                 Firm A transferred hundreds of thousands of dollars to accounts belonging to

                 Broidy.

              e. On or about August 24, 2017, Low directed the transfer of approximately $10

                 million from Company I to Company G, another of Michel’s companies.

                 Michel subsequently transferred $7.5 million to Lum Davis.

       9.     On or about September 20, 2017, Low directed the transfer of approximately $30

million to Company F from Company I. On or about October 23, 2017, Low directed the transfer

of approximately $41 million to a bank account controlled by George Higginbotham from

Company J, another Hong Kong based entity controlled by Low associate.

Justin Gray

       FBI Special Agent Gray is assigned to FBI’s New York Division and is a certified member

of the FBI’s Cellular Analysis Survey Team (CAST), a specialized FBI unit that acquires and

analyzes cellular telephone evidence to, among other things, present historical, geographical




                                              5
         Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 6 of 8




representations of cellular device activities as part of federal criminal investigations and

prosecutions.

        Special Agent Gray has reviewed the allegations in this case, documents and exhibits that

have been produced in this case including historical call detail records and cell site location

information, and conferred with the agents who investigated this matter and prosecution team.

Special Agent Gray will offer the following opinions based on his review and understanding of

the relevant facts:

        1.      Michel’s cell phone and the cell phone that sent that sent the communications

charged as witness tampering in Counts Five and Six of the Superseding indictment were co-

located on four different occasions on July 14, 2019—the day the communications were sent.

        2.      At no time on July 14, 2019, was there any cellular location information from

Michel’s cell phone or the cellphone that sent the communications charged that would suggest that

the cell phones were not with one another.

        Special Agent Gray’s testimony, including these opinions, will be supplemented with maps

depicting location information from July 14, 2019, for Michel’s cell phone and the cellphone that

sent the communications charged in Counts Five and Six of the Superseding Indictment.



                                                 Respectfully submitted,


                                                    COREY R. AMUNDSON
                                                    Chief, Public Integrity Section
                                                    Criminal Division
                                                    U.S. Department of Justice




                                                6
Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 7 of 8




                                  By:     /s/ John D. Keller
                                        John D. Keller
                                        Principal Deputy Chief

                                        Sean F. Mulryne
                                        Director of Enforcement & Litigation
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                              7
         Case 1:19-cr-00148-CKK Document 123 Filed 07/15/22 Page 8 of 8




                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: July 15, 2022                              /s/ John D. Keller
                                                  John D. Keller
                                                  Principal Deputy Chief
                                                  1301 New York Ave., NW
                                                  Washington, DC 20530
                                                  202-514-1412




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